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 6                         IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Brian Swontek,                                    No. CV-16-03602-PHX-DJH
10                  Plaintiff,                         ORDER
11   v.
12   Experian Information Solutions
     Incorporated, et al.,
13
                    Defendants.
14
15            This matter is before the Court on the Notice of Settlement Notice of Settlement as
16   to Hughes Federal Credit Union Only (Doc. 88).
17            Accordingly,
18            IT IS ORDERED that a Stipulation to Dismiss as to Defendant Hughes Federal
19   Credit Union only shall be filed on or before April 23, 2018. If said Stipulation to
20   Dismiss has not been filed by April 23, 2018, the parties shall file a Status Report to the
21   Court on that date.
22            IT IS FURTHER ORDERED that any other case management deadlines as to
23   Defendant Hughes Federal Credit Union only are VACATED.
24            Dated this 6th day of March, 2018.
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                                                    Honorable Diane J. Humetewa
27                                                  United States District Judge

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